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                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )       Case No. 3:22-cr-0008
                                              )
KELLY BRUNEY,                                 )
                                              )
                     Defendant.               )
                                           ORDER

       THIS MATTER comes before the Court on the Report and Recommendation of the

United States Magistrate Judge dated October 11, 2023, recommending that the Defendant’s

plea of guilty to Count One of the Indictment be accepted, and the defendant be adjudged

guilty. (ECF No. 142.) After careful consideration and review, and there being no objection,

it is hereby


       ORDERED that the Report and Recommendation, ECF No. 142, is ADOPTED; it is

further

       ORDERED that Defendant Kelly Bruney’s plea of guilty as to Count One of the

Indictment is ACCEPTED, and that Kelly Bruney is adjudged GUILTY on that count; it is

further

       ORDERED that, pursuant to Fed. R. Crim. P. 32(c)(1)(A), the U.S. Probation Office shall

conduct a presentence investigation for the preparation of a presentence report; it is further

       ORDERED that the U.S. Probation Office shall disclose the preliminary presentence

report to the parties no later than December 19, 2023; it is further
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        ORDERED that the parties shall submit any objections or corrections to the

preliminary presentence report to the U.S. Probation Office no later than January 12, 2023;

it is further

        ORDERED that the U.S. Probation Office shall disclose the final presentence report to

the parties and the Court no later than January 26, 2024; it is further

        ORDERED that the parties shall file their sentencing memoranda no later than

February 9, 2024; it is further

        ORDERED that a sentencing hearing shall be held on February 16, 2024, at 9:30

A.M. in STT Courtroom No. 1.



Dated: October 31, 2023                           /s/ Robert A. Molloy
                                                  ROBERT A. MOLLOY
                                                  Chief Judge
